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                         United States District Court
                              District Of Maine


John Doe,                              )
                                       )
                 Plaintiff,            )
                                       )
v.                                     )    Civil Action No.
                                       )
York County, Sheriff’s Department;     )
Robert Hayes; William Vachon; and      )
Joseph Fagone.                         )
                                       )
             Defendants.               )


                      Complaint; Demand for Jury Trial;
                        and Injunctive Relief Sought

      John Doe complains against (1) York County Sheriff’s Department; (2)

York County Sergeant Robert Hayes; (3) York County Detective William

Vachon; and (4) City of Portland Detective (retired) Joseph Fagone as follows:

                              Summary of the Action

      1.    Two York County law enforcement officials invaded a business

owner’s home to rough him up over an $850 consumer dispute.

      2.    Sergeant Robert Hayes and Detective William Vachon

intentionally broke the law as a favor to a retired City of Portland detective

who wanted the $850 refunded. “You fucked with the wrong person,” they

told John Doe.
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      3.    When John Doe called 911 to report this home invasion, Hayes

and Vachon threw him on the floor, took his phone, and falsely arrested him

for the alleged (but fictitious) crime of calling 911 in the presence of police

officers.

      4.    This use of official police powers to terrorize and hold up a

private citizen in his own home to collect a private debt for another police

officer violated the clearly established constitutional rights of John Doe and

cannot be tolerated in a free society.

                                     Parties

      5.    Plaintiff, John Doe, is a resident of York County, Maine. This

Complaint uses pseudonyms for the name of the Plaintiff and his wife to

protect them from retaliation and harassment by the police, from the

reasonable fear of such retaliation and harassment when they have already

endured severe retaliation of that type, and from additional stigmatization,

trauma, and personal embarrassment. Plaintiff’s identity is known to all of

Defendants, and Plaintiff will voluntarily disclose his identity if the Court

determines use of a pseudonym is not warranted in this action.

      6.    Defendant York County is a governmental entity duly organized

and existing under Maine law. The Sheriff’s Department is a department of

York County.



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      7.     Defendant Robert Hayes is a Detective for the York County

Sheriff’s Department. He is being sued in his personal and individual

capacity, as well as in his official capacity.

      8.     Defendant William Vachon is a Detective for the York County

Sheriff’s Department. He is being sued in his personal and individual

capacity, as well as in his official capacity.

      9.     Defendant Joseph Fagone is a retired police officer for the City of

Portland who resides in Portland, Cumberland County, Maine. He is being

sued in his personal and individual capacity.

                                Jury Trial Demand

      10.    Under Fed. R. Civ. P. 38(b), Plaintiff hereby demands trial by

jury on all issues triable to a jury.

                             Jurisdiction and Venue

      11.    This action arises under 42 U.S.C. §§ 1983, 1985, and 1988. This

Court has proper subject matter jurisdiction over Plaintiff’s federal claims

under 28 U.S.C. §§ 1341 (federal question) and 1343 (civil rights). This Court

has proper supplemental jurisdiction over Plaintiff’s state law claim, which is

related and form part of the same case or controversy as the federal claims,

under 28 U.S.C. § 1367(a).

      12.    Venue is proper in the District of Maine under 28 U.S.C.


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§ 1391(e) (3) because Plaintiff resides in Maine. Under Rule 3(b) of the Rules

of this Court, this action is properly filed in Portland because most of the

events occurred in York County.

                                     Facts

      13.   In 2011, John Doe and his wife Jane Doe lived together in

Buxton, a small town in York County, and worked together running a small

business.

      14.   On Sunday, August 28, 2011, the Does received a phone message

threatening to “bury” them if they did not refund the entire charge of $850 for

transportation services they provided the day before.

      15.   On Thursday, September 1, 2011, Sergeant Robert Hayes and

Detective Bill Vachon of the York County Sherriff’s Department came to the

home of John and Jane Doe.

      16.   After hearing a knock, John Doe opened the front door and Hayes

and Vachon flashed their York County detective badges and asked John Doe

if they could come in.

      17.   Seeing their badges, John Doe allowed Hayes and Vachon to

enter his home, based on the reasonable but false assumption that they were

there to conduct legitimate police business.

      18.   After the door closed behind them, either Hayes or Vachon asked

John Doe if he knew why there were there. John Doe said he did not know.
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      19.    Hayes replied, “You fucked with the wrong person.”

      20.    Hayes told John Doe that one of the passengers the Does had

transported on August 27 was the daughter of a 25-year Portland Police

veteran.

      21.    Recognizing that he had been ambushed based on false pretenses,

John Doe tried to call 911, but Hayes and Vachon threw him to the floor and

tightly handcuffed him.

      22.    One of the officers got on the phone with the 911 operator and

said that the York County Sherriff’s Department was on the scene and

dispatch did not need to send anyone.

      23.    Hayes and Vachon told John Doe, falsely, that it was illegal to

call 911 in the presence of a police officer.

      24.    Hayes and Vachon forced John Doe out of his home, put him in

an unmarked police cruiser, and drove him a short distance away.

      25.    Hayes and Vachon left John Doe handcuffed in the car. For 45

minutes, they pressured him to refund the $850 charge.

      26.    Doe asked Vachon if he would be taken to jail.

      27.    Vachon told Doe he was under arrest “for being an asshole.”

      28.    Hayes and Vachon had no reasonable basis for arresting John

Doe for any crimes.



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      29.    John Doe asked to be read his rights and that he be allowed to

make a phone call and have his handcuffs removed.

      30.    Vachon refused and instead replied, “You know your fucking

rights.”

      31.    Hayes left the car to call Jane Doe, John Doe’s wife.

      32.    When Jane Doe answered the phone call, Hayes asked where she

was and told her that he was at her home.

      33.    Jane Doe went home and found Hayes at her doorstep.

      34.    Hayes showed Jane Doe his badge and claimed that he was there

on behalf of the Massachusetts State Police.

      35.    Hayes demanded Jane Doe refund the disputed charge and told

her he “doesn’t make deals.”

      36.    Hayes falsely claimed that he had a video showing Jane Doe

stealing money and a digital camera from the passengers the Does had

transported on August 27.

      37.    At around 7:45 p.m., Vachon arrived back at the house with John

Doe in handcuffs.

      38.    Hayes instructed the Does to go to a parking lot outside a nearby

bank by 8:00 p.m.—within 15 minutes—to hand over the money he claimed

they owed.



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      39.   Before leaving, Hayes and Vachon demanded that the Does sign a

form stating that Hayes and Vachon had not used excessive force.

      40.   Terrified, the Does complied and signed the forms.

      41.   Rather than go to the bank, the Does fled their home and stayed

at the home of Jane Doe’s mother house for the next several days.

      42.   John Doe had visible bruising for at least a week caused by being

tightly handcuffed while being forced out of his home, into a vehicle, and back

again.

      43.   After calling multiple agencies to report the brutal terrorism by

Hayes and Vachon, the Does were eventually forwarded to a Major at the

York County Sheriff’s Department, who confirmed that Hayes and Vachon

worked for York County’s Sheriff’s Department.

      44.   The Major told the Does the Sheriff’s Department would handle

the matter internally.

      45.   York County never took any appropriate corrective action and

instead ratified and approved of the unconstitutional conduct of Hayes and

Vachon.

      46.   On September 8, 2011, the Does received a voicemail message at

their home from Joseph Fagone, a retired Portland police officer, concerning

the events on August 27, 2011.

      47.   The message from Joseph Fagone stated the following:

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            This message is for [Jane Doe]. My name is Joe Fagone. My
            daughter was involved in that limousine incident in
            Gillette Stadium. I am a detective with criminal investiga-
            tions for the state of Maine. I’ve been working behind the
            scenes with Sergeant Hayes. My understanding is that you
            are playing games with [name omitted] and you’re not
            willing to pay. That’s fine, but let me tell you, the
            agreement was that you guys were going to make this
            right. I am going to get a warrant for you and your husband
            and I guarantee you I will be out to that house. We
            negotiated in good faith with you. If you’re playing games,
            that’s what’s going to happen. I suggest you call her—
            [name omitted]—and you make this right. If you choose not
            to do that—the agreement was you were going to pay her
            back—if you choose not to do that, that’s fine, but the
            alternative is criminal charges. And you can bet on that. If
            you want to play games, we will play games. Have a good
            night.

      48.   The criminal charges referred to by Fagone were never filed.

      49.   Defendants acted with actual malice and reckless indifference to

the federally protected civil rights of John Doe.

      50.   Defendants intentionally interfered or attempted to intentionally

interfere— by physical force or violence and trespass on property and by the

threat of physical force or violence against a person or trespass on property—

with the Does’ exercise and enjoyment of rights secured by the Constitutions

and laws of the United States and the State of Maine.

                                  Legal Claim

      51.   The allegations in paragraphs 1-50 are repeated.




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      52.     Based on these allegations, Defendants, while acting under color

of state law, violated the constitutional rights of John Doe, including his

rights (a) under the Fourth and Fourteenth Amendments of the United

States Constitution and corollary provisions of the Constitution of the State

of Maine to be free of illegal arrest and excessive force and (b) under the

Fourteenth Amendment of the United States Constitution and corollary

provisions of the Constitution of the State of Maine to be accorded

procedural due process.

      53.     Fagone conspired to further the constitutional violations by

Hayes and Vachon.

      54.     Hayes and Vachon conspired to further Fagone’s violations of the

Maine Civil Rights Act.

      55.     The law supporting these claims is clearly established.

      56.     Hayes and Vachon’s physical kidnapping and detention of John

Doe constituted an illegal arrest for at least two separate reasons.

      57.     First, Hayes and Vachon had no reason to believe John Doe had

violated the law and thus they had no pretense of probable cause to justify

involuntarily removing John Doe from his own home.

      58.     A warrantless arrest without probable cause to believe a crime

has occurred is per se unreasonable. United States v. Watson, 423 U.S. 411,

417 (1976).

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      59.   Second, Hayes and Vachon carried out the arrest using excessive

force in violation of clearly established law. John Doe was arrested for no

crime; he was alone at his home, made no threatening movements, and put

up no physical resistance.

      60.   The severity of any crime at issue was non-existent; John Doe

posed no immediate threat to the safety of the officers or others; and John

Doe was not actively resisting arrest or attempting to evade arrest by flight.

See Alexis v. McDonald's Rests. of Mass., Inc., 67 F.3d 341, 346 (1st Cir.

1995).

      61.   By decreeing that John Doe immediately owed a substantial and

unappealable fine without giving him a chance to dispute the charge, Hayes

and Vachon violated John Doe’s clearly established right to due process.

      62.   It is clearly established that imposing a binding debt impinges on

a constitutionally protected property interest in being free of financial

obligations. Connecticut v. Doehr, 501 U.S. 1 (1991); see also Clukey v. Town

of Camden, 717 F.3d 52 (1st Cir. 2013) (“In every case where a protected

property interest is at stake, the Constitution requires, at a minimum, some

kind of notice and some kind of opportunity to be heard.”)

      63.   John Doe was given no notice or opportunity to be heard before

Hayes and Vachon demanded that he immediately pay $850 on threat of

further arrest and harassment.

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       64.    Fagone is liable under federal law for conspiring with state actors

Hayes and Vachon because Fagone was a willful participant in joint activity

with Hayes and Vachon to violate the federal constitutional rights of John

Doe.

       65.    A meeting of minds occurred between Fagone, on one hand, and

Hayes and Vachon, on the other hand, to further the violation of John Doe’s

federal constitutional rights. See, e.g., Casa Marie, Inc. v. Sup. Ct. of P.R.,

988 F.2d 252, 259 (1st Cir. 1993); Wagenmann v. Adams, 829 F.2d 196 (1st

Cir. 1987).

       66.    By his own words, retired Portland police officer Fagone was

acting in concert with state agents Hayes and Vachon. His voicemail

specifically states, “I've been working behind the scenes with Sergeant

Hayes.”

       67.    Fagone’s voicemail also shows intimate knowledge of the

unconstitutional actions Hayes and Vachon took on September 1, 2011 to

collect a private debt.

       68.    As a result of Defendants’ unconstitutional conduct, John Doe

has suffered and is continuing to suffer personal injuries, including but not

limited to, chilling of constitutional rights, impairment of reputation,

personal humiliation and embarrassment, mental anguish and suffering,



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emotional pain and distress, suffering, inconvenience, loss of enjoyment of

life, and other pecuniary and non-pecuniary losses.

      69.   Plaintiff requests relief—including but not limited to under 42

U.S.C. §§ 1983, 1985 and 1988; and under the Maine Civil Rights Act, 5 MRS

§§ 4681-4685—against Defendants as follows:

            a. Enter declaratory relief that Defendants violated Plaintiff’s

      constitutional civil rights and the Maine Civil Rights Act, 5 MRS

      §§ 4681-4685.

            b. Enter injunctive relief ordering Defendant York County

      Sheriff’s Department to:

                 i.   Provide effective civil rights training for all police

            officers, detectives and supervisors;

                ii.   Provide this training for two years after the date

            judgment is entered to all new police officers, detectives, and

            supervisory employees, within 60 days of the beginning of their

            employment;

               iii.   Maintain attendance sheets identifying each person who

            attended each training session and forward a copy of the

            attendance sheets to Plaintiff’s counsel within seven days of each

            training session;



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              iv.   Post at the York County Sheriff’s Department a copy of

           a remedial notice detailing the judgment in this case as well as

           the order providing injunctive relief;

           c. Award compensatory damages in amounts to be determined at

     trial by the jury and prejudgment interest thereon;

           d. Award punitive damages in amounts to be determined at trial

     by the jury (except punitive damages are not being requested against

     defendant York County) and prejudgment interest thereon;

           e. Award Plaintiff full costs and reasonable attorneys’ fees and

     litigation expenses; and

           f. Award such further relief as is deemed appropriate.




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                                  Respectfully submitted,


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